          Case 2:16-cr-00036-TOR              ECF No. 197                filed 07/28/16               PageID.480 Page 1 of 2
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                                             FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                       for
                                              Eastern District of Washington                                    Jul 28, 2016
                                                                                                                   SEAN F. MCAVOY, CLERK



U.S.A. vs.                 Santiago-Morales, David                                     Docket No.                 0980 2:16CR00036-003


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Daniel M. Manning, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant David Santiago-Morales, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge Mary K. Dimke sitting in the court at Yakima, Washington, on the 27th day of May, 2016, under the
following conditions:

Condition #12: Defendant shall not use or unlawfully possess a narcotic drug or other controlled substances defined in
  21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use marijuana,
                    regardless of whether defendant has been prescribed a medical marijuana card.

Condition #18: Defendant shall submit to any method of testing required by the United States Pretrial Service Office
  for determining whether the Defendant is using a prohibited controlled substance. Such methods may be used with
    random frequency and include urine testing, the wearing of a sweat patch, and remote alcohol testing systems.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Using controlled substance, cocaine and opiates, on or about July 13, 2016.

Violation #2: Failing to attend urinalysis testing on July 7, 2016.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                          I declare under the penalty of perjury
                                                                                          that the foregoing is true and correct.
                                                                                          Executed on:            July 27, 2016
                                                                              by          s/Daniel M. Manning
                                                                                          Daniel M. Manning
                                                                                          U.S. Pretrial Services Officer
          Case 2:16-cr-00036-TOR         ECF No. 197      filed 07/28/16      PageID.481 Page 2 of 2
   PS-8
   Re: Santiago-Morales,, David
   July 27, 2016
   Page 2

THE COURT ORDERS

[ ]       No Action
[ ]       The Issuance of a Warrant
[ X]      The Issuance of a Summons
[ ]       The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[X ]      Other

Defendant to appear for an initial appearance in
                                                                       Signature of Judicial Officer
Richland before the assigned Magistrate Judge.
                                                                       7/28/2016
                                                                       Date
